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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION
                                 :
                                 :
 IN RE:                          :
                                 :
 ORDER AND NOTICE FOR ALL        :
 CIVIL CASES ASSIGNED            :
 TO JUDGE TOTENBERG              :
                                 :
                                 :

                            ORDER AND NOTICE

      This Order provides notice to all parties with active cases before the Court

that, as of July 1, 2024, the marvelous and extraordinarily capable Harry Martin

will no longer be the Courtroom Deputy for the undersigned. Mr. Martin has

ascended to a leadership position in the Clerk’s Office where he will continue his

superb service to the Court, and the public, at large. Please direct all future

communications regarding court matters to the undersigned’s new Courtroom

Deputy, Keri Gardner, at keri_gardner@gand.uscourts.gov and 404-215-1437.



        IT IS SO ORDERED this 27th day of June 2024.


                                     ____________________________
                                     Honorable Amy Totenberg
                                     United States District Judge
